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                                    1939

                                                             Ex. I




                                                                     EXHIBIT I
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                                    1783
                                    1940
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                                    1784
                                    1941
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                                    1785
                                    1942
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                                    1786
                                    1943
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                                    1787
                                    1944
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                                    1788
                                    1945
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                                    1789
                                    1946
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                                    1790
                                    1947
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1791
                                     1948
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1792
                                     1949
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                                     1793
                                     1950
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                                     1794
                                     1951
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1795
                                     1952
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1796
                                     1953
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1797
                                     1954
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                                     1798
                                     1955
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                                     1799
                                     1956
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1800
                                     1957
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1801
                                     1958
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1802
                                     1959
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
                                   60-8 Filed: 02/28/24
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                                     1803
                                     1960
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
                                   60-8 Filed: 02/28/24
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                                     1804
                                     1961
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
                                   60-8 Filed: 02/28/24
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                                     1805
                                     1962
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1806
                                     1963
Case: 6:24-cv-00007-REW-HAI Doc #: 65-9
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                                     1807
                                     1964
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                                   60-8 Filed: 02/28/24
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                                     1808
                                     1965
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                                   60-8 Filed: 02/28/24
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                                     1809
                                     1966
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                                     1810
                                     1967
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                                     1811
                                     1968
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                                     1812
                                     1969
